Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 1 of 12




                   EXHIBIT A
      Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 2 of 12




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

STEVEN HOTZE, M.D. WENDELL                   §
CHAMPION, HON. STEVE TOTH, AND               §
SHARON HEMPHILL,                             §
                                             §
         Plaintiffs,                         §
                                             §
v.                                           §   Case No. 4:20-cv-03709
                                             §
CHRIS HOLLINS, in his official capacity as   §
Harris County Clerk,                         §
                                             §
         Defendant,                          §   Judge Andrew S. Hanen
                                             §
and                                          §
                                             §
MJ FOR TEXAS; DSCC; DCCC; MARY               §
CURRIE; CARLTON CURRIE JR.;                  §
JEKAYA SIMMONS, and DANIEL                   §
COLEMAN,                                     §
                                             §
         Proposed Intervenor-Defendants,     §
                                             §
and                                          §
                                             §
CHRISTINA MASSARA, ALAN MAUK,                §
JENN RAINEY, BRIAN SINGH, MARY               §
BACON, KIMBERLY PHIPPS-NICHOL,               §
NYGUEN GRIGGS, NELSON VANEGAS,               §
JESSICA     GOODSPERO,      AMY              §
ASHMORE,    RICHARD     FRANKEL,             §
ELAINE FRANKEL, RYAN FRANKEL,                §
CELIA VESELKA, SERGIO ALDANA,                §
RUSSELL “RUSTY” HARDIN, DOUGLAS              §
MOLL, AND CAREY JORDAN,                      §
                                             §
         Proposed Intervenor-Defendants.     §




1022180.3.docx
       Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 3 of 12




                 DRIVE THRU VOTERS’ PROPOSED BRIEF IN OPPOSITION TO
                  PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

         Proposed-Intervenor Defendants Christina Massara; Alan Mauk; Jenn Rainey; Brian

Singh; Mary Bacon; Kimberly Phipps-Nichol; Nyguen Griggs; Nelson Vanegas; Jessica

Goodspero; Amy Ashmore; Richard Frankel; Elaine Frankel; Ryan Frankel; Celia Veselka;

Sergio Aldana; Russell “Rusty” Hardin; Douglas Moll; and Carey Jordan (“Drive-Thru Voters”)

file this Proposed Brief in Opposition to Plaintiffs’ Motion for a Preliminary Injunction and

would show this Court the following:

I.         INTRODUCTION

           As former Republican Speaker of the Texas House of Representatives Joe Strauss

recently tweeted, “The lawsuit attempting to disenfranchise more than 100,000 voters in Harris

County is patently wrong. All of us who believe in the core ideals of this country should want

more votes counted and more voices heard.” 1 Drive-Thru Voters are voters who cast their

ballots at Harris County’s drive-thru polling locations. They wish their votes to be counted and

their voices to be heard. They correctly believed that their votes were legal and valid.

           Plaintiffs’ challenge to Harris County’s drive-thru voting procedures comes very late in

the game, after Drive-Thru Voters and nearly 127,000 other Texans have already cast their

ballots at drive-thru polling locations. Despite having months to mount a challenge to drive-thru

voting, Plaintiffs are only now bringing their challenge in this Court.     Plaintiffs now seek the

extraordinary relief of preventing the counting of Drive-Thru Voters’ votes, effectively

disenfranchising Drive-Thru Voters.

           This request for preliminary injunction is Plaintiffs’ third bite of the apple. The Texas

Supreme Court has already twice denied requests for mandamus relief aimed at invalidating

1
    Twitter, Nov. 1, 2020, @SpeakerJoeStrauss.



                                                   2
1022180.3.docx
     Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 4 of 12




Harris County’s drive-thru voting plan. 2 Indeed, on November 1, the Texas Supreme Court

denied Plaintiffs’ petition for mandamus based on the same equal-protection and state-law

arguments presented here. This Court should reject Plaintiffs’ belated and desperate attempt to

thwart the electoral process.

         Drive-Thru Voters join in and adopt all the arguments presented by Proposed Intervenor-

Defendants MJ for Texas, DSCC, DCCC, Mary Currie, Carlton Currie, Jr. Jekaya Simmons, and

Daniel Coleman (“MJ Intervenors”). Drive-Thru Voters write separately to raise four additional

arguments.

         First, Plaintiffs’ Motion for a Preliminary Injunction should also be denied because

Plaintiffs’ have an adequate remedy at law. To the extent that Plaintiffs argue that votes cast at

drive-thru polling locations are illegal, Texas law provides a remedy: an election contest under

the Texas Election Code. Under Texas law, a contest may be brought only after the election,

once all the votes are counted. By asking to prevent the tabulation of votes before Election Day,

Plaintiffs put the cart before the horse.

         Second, the balance of equities weighs against granting the injunction. While Plaintiffs

have an adequate remedy at law, Drive-Thru Voters and others who similarly voted at drive-thru

locations will be severely prejudiced if the injunction is granted. Preventing the counting of

nearly 127,000 votes will not only disenfranchise voters in the races in which Plaintiffs

Champion, Hemphill, and Toth are running, but will invalidate drive-thru votes in all races from

the presidency on down to local races.

         Third, the Rooker-Feldman doctrine counsels against this Court’s exercising jurisdiction

in this matter. The Texas Supreme Court has twice considered and denied relief on the same

2
 See In re Hotze, No. 20-0819, Order Denying Petition (Tex. Oct. 22, 2020); In Re Hotze, No. 20-0863, Order
Denying Petition (Nov. 1, 2020).



                                                    3
1022180.3.docx
      Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 5 of 12




claims that Plaintiffs make here. Because Plaintiffs’ claims are not merely intertwined with, but

are identical to their claims in the Texas Supreme Court, the Court should decline to exercise

jurisdiction.

         Fourth, Plaintiffs are essentially asking this Court to decide the proper construction of

Texas election law.      But principles of comity and federalism—particularly in the election

context—demand that this Court defer to the Texas Supreme Court’s two prior decisions denying

relief to Plaintiffs.

II.      ARGUMENT

         A.      The Texas Election Code’s election contest procedure provides an adequate
                 remedy at law.

         For plaintiffs to be entitled to injunctive relief, they must demonstrate that if the district

court denies the preliminary injunction, irreparable harm will result. E.g., Janvey v. Alguire, 647

F.3d 585, 600 (5th Cir. 2011). “In general, harm is irreparable where there is no adequate

remedy at law . . . .” Id.

         Here, Plaintiffs seek to stop the counting of votes from drive-thru polling locations, and

claim that they will suffer irreparable harm if these votes are counted.         Plaintiffs claim that

drive-thru votes are illegal votes. But Texas election law provides a remedy for an aggrieved

candidate to challenge votes that have been cast or counted illegally: an election contest. See

TEX. ELEC. CODE, Title 14 Election Contests (chs. 22, 231–233, 241–43). An election contest

differs from the § 1983 lawsuit Plaintiffs have filed here (and Plaintiffs’ twice-rejected request

for mandamus at the Supreme Court of Texas) in important ways. It “is not an ordinary case in

law or in equity.” Regalado v. Munoz, No. 13-14-00274-CV, 2014 WL 3542056, at *2 (Tex.

App.—Corpus Christi July 17, 2014, no pet.) (citations omitted). Instead, it is “politically time

sensitive,” and triggers “legislative remedies” that must “be strictly followed.” Id. (citations



                                                   4
1022180.3.docx
     Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 6 of 12




omitted). The Code provides specific procedures for venue, procedure, and deadlines. See, e.g.,

Tex. Elec. Code §§ 232.006, 232.008, 232.010. Most importantly, an election contest can be

filed only after the election and does not stop the counting of votes; the canvassing and

certification of election results continues as if a contest had not been filed. TEX. ELEC. CODE §

221.006.

         Filing an election contest after the election, rather than prematurely seeking to enjoin the

tabulation of drive-thru votes—will also avoid unnecessary litigation. For example, if Plaintiffs

Champion, Hemphill, or Toth win their races even with the drive-thru votes, they will not need

to file a contest. Similarly, if they lose their races by a greater number of votes than those cast at

drive-thru polling locations, there would also be no need for a contest, as drive-thru polling will

not have affected the outcome.

         B.      The balance of the equities weighs against granting the injunction.

         When determining whether to grant a preliminary injunction, the Court must ask whether

Plaintiffs’ threatened injuries outweigh any damage the injunction may cause. Tex. Voters All. v.

Dallas Cnty., No. 4:20-CV-00775, 2020 WL 6146248, at *20 (E.D. Tex. Oct. 20, 2020). Here,

the balance of equities weighs strongly against granting the injunction.

         In contrast to the Plaintiffs, who have an adequate legal remedy, a last-minute injunction

to stop counting drive-thru votes would instead irreparably harm Drive-Thru Voters and the

electoral process. The Supreme Court has made clear that “voter confusion” is a paramount

concern whenever a court orders changes to election procedures on the eve of an election, and

“[a]s an election draws closer, that risk will increase.” Purcell v. Gonzalez, 549 U.S. 1, 4–5

(2006). Here, if the preliminary injunction is granted, 127,000 voters, who had every reason to

believe that their vote would be counted, will be disenfranchised. The County Clerk may try to

inform them that they can vote provisionally in-person on November 3, but given that the Court


                                                  5
1022180.3.docx
     Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 7 of 12




is hearing Plaintiffs’ Motion the day before Election Day, it is likely that a substantial

percentage of early voters will not receive such notice. And many believing their votes to

already have been legally cast, have other commitments and cannot vote in person on November

3.

         Moreover, a preliminary injunction blocking the counting of drive-thru votes is a far

blunter instrument than an election contest. It would not only apply to Plaintiff Champion,

Hemphill, and Toth’s races, but would also deny the Drive-Thru Voters their right to vote for

the other candidates running for office. Were the Court to order Defendant Hollins to refrain

from entering into the tally machine all memory cards from the ten drive-thru voting locations,

there would be no way to ensure that the Drive-Thru Voters’ other votes are counted even in the

dozens of other races, from the race for the presidency to various other statewide, county, and

district offices. What is more, if a candidate or voter challenges the legality of specific votes and

a court ultimately upholds the manner in which they were cast, the Code contains no provision

outlining a procedure for adding such votes back into the count. Thus, the Election Code

provides no clear path for counting the Drive-Thru Voters’ votes if they are not included in the

original count.

         Plaintiffs argue that the injunction they request would not cause harm to Defendant

Hollins. Dkt. 4 at 12. Regardless of whether that is true, their position fails to account for the

bludgeoning destruction of the Drive-Thru Voters’ constitutional right to vote as well as the

havoc the injunction would wreak for the Drive-Thru voters, for the candidates in every other

election on the ballot, and for the electoral process generally. Such havoc can be avoided by

denying Plaintiffs’ request for an injunction and requiring them to employ the specific process

that the Texas Legislature created: an election contest.




                                                 6
1022180.3.docx
     Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 8 of 12




         C.      The Rooker-Feldman doctrine counsels against the exercise of this Court’s
                 jurisdiction.

         The Plaintiffs have twice petitioned the Texas Supreme Court to invalidate the “drive-

thru” in-person voting method at issue here. Both times, the Texas Supreme Court has denied

the requested relief. See In re Hotze, No. 20-0819, Order Denying Petition (Tex. Oct. 22, 2020);

In Re Hotze, No. 20-0863, Order Denying Petition (Nov. 1, 2020). Now, in federal court,

Plaintiffs have sued the same party, raised the same issues, and requested similar relief. In their

third bite at the apple, Plaintiffs seek “what in substance would be appellate review of the state

judgment.” Weaver v. Tex. Capital Bank, N.A., 660 F.3d 900, 904 (5th Cir. 2011). The Rooker-

Feldman doctrine precludes such relief.

         The Rooker-Feldman doctrine arises out of two Supreme Court decisions, Rooker v.

Fidelity Trust Co., 263 U.S. 413 (1923), and District of Columbia Court of Appeals v. Feldman,

460 U.S. 462 (1983), and provides that “federal district courts lack jurisdiction to entertain

collateral attacks on state court judgments.” Liedtke v. State Bar of Tex., 18 F.3d 315, 317 (5th

Cir. 1994). A state-court judgment is attacked for purposes of Rooker–Feldman “when the

[federal] claims are ‘inextricably intertwined’ with a challenged state court judgment,” Richard

v. Hoechst Celanese Chem. Grp., Inc., 355 F.3d 345, 350 (5th Cir. 2003), or where the losing

party in a state-court action seeks “what in substance would be appellate review of the state

judgment.” Johnson v. De Grandy, 512 U.S. 997, 1005–06 (1994). The doctrine provides that

federal courts should decline to exercise jurisdiction in “cases brought by state-court losers

complaining of injuries caused by state-court judgments . . . .” Exxon Mobil Corp. v. Saudi

Basic Indus. Corp., 544 U.S. 280, 284 (2005).

         The Rooker–Feldman doctrine applies when a case meets a four-prong test: (1) a state-

court loser; (2) alleging harm caused by a state-court judgment; (3) that was rendered before the



                                                7
1022180.3.docx
     Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 9 of 12




district-court proceedings began; and (4) the federal suit requests review and reversal of the

state-court judgment. Houston v. Venneta Queen, 606 F. App’x. 725, 730 (5th Cir. 2015) (citing

Exxon, 544 U.S. at 284). A plaintiff “cannot escape Rooker-Feldman” by recasting its complaint

in a different form. Id.

         Substantively, all four elements are met here.      Plaintiffs lost in the Texas Supreme

Court—twice. In the first instance, the Texas Supreme Court dismissed a mandamus petition

challenging Harris County’s drive-thru voting. See In re Hotze, No. 20-0819, Order Denying

Petition (Tex. Oct. 22, 2020). Five days later, on October 27, 2020, many of the same plaintiffs

from the prior lawsuit—including the named Plaintiff—filed a new mandamus petition in the

Texas Supreme Court again requesting review of the drive-thru voting process. That second

mandamus petition was denied on Sunday, November 1, 2020. See In Re Hotze, No. 20-0863,

Order Denying Petition (Nov. 1, 2020). The first element of the doctrine is therefore met.

         After the determination of their first Mandamus, and while their second was pending, the

Plaintiffs filed the instant lawsuit on October 28, 2020. Accordingly, the first decision by the

Texas Supreme Court was rendered before this lawsuit was filed, meeting the third element of

the Rooker-Feldman doctrine.

         In substance although they do not explicitly say so, the Plaintiffs seek the reversal of the

Texas Supreme Court’s mandamus decisions, and the injury Plaintiffs have purportedly suffered

was caused by the Texas Supreme Court’s failure to grant their desired relief. That is sufficient

to meet the remaining two elements under the Rooker-Feldman doctrine.

         The Northern District of Mississippi’s recent decision in Bell v. Tallahatchie County, 440

F. Supp. 3d 569, 572 (N.D. Miss. 2020) is instructive on this point. There, Bell disputed the

applicability of the Rooker-Feldman doctrine because he “d[idn’t] specifically state that he was




                                                  8
1022180.3.docx
    Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 10 of 12




harmed by his state-court judgment, nor d[id] he ask for review or reversal of the state-court

judgment.” Id. The court rejected Bell’s argument, instead holding that he was “attempting to

relitigate the same claims brought forth in the state action and [was] essentially asking for both a

reversal and a review. Bell [was] in essence asking this Court to review the claims that have

been already filed in state court. Not only [were] Bell’s claims ‘inextricably intertwined,’

several of his claims [were] identical to his state court claims.” Id.

         That is exactly the case here. The Plaintiffs’ Petition “stripped to essentials, is an attack

on the judgment of the state . . . court.” Liedtke, 18 F.3d at 317–18. And Plaintiffs’ claims are

not only “inextricably intertwined,” but, just like in Bell, are identical to the claims that the

Texas Supreme Court has twice denied. Accordingly, this Court should decline to exercise

jurisdiction under the Rooker-Feldman doctrine.

         D.      Based on principles of comity and federalism, this Court should defer to the
                 Texas Supreme Court’s decisions denying Plaintiffs’ requested relief.

         Principles of comity and federalism also counsel deference to the Texas Supreme Court’s

decisions to deny relief. In “most cases, comity and respect for federalism compel” federal

courts to “defer to decisions of state courts on issues of state law.” See Bush v. Gore, 531 U.S.

98, 112 (2000) (Rehnquist, C.J., concurring) (citing Erie R. Co. v. Tompkins, 304 U.S. 64

(1938)). The United States Supreme Court “repeatedly has held that state courts are the ultimate

expositors of state law . . . and that we are bound by their constructions except in extreme

circumstances . . . .” Mullaney v. Wilbur, 421 U.S. 684, 690–91 (1975). “Considerations of

comity are particularly important in the context of state elections. We have repeatedly refused to

get involved in resolving state election disputes arising under state laws.” Noble v. White, 996

F.2d 797, 799–800 (5th Cir. 1993); see also Hubbard v. Ammerman, 465 F.2d 1169, 1181 (5th

Cir.1972) (“Since this local election contest had turned toward the legality of ballots cast outside



                                                  9
1022180.3.docx
    Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 11 of 12




the precincts of the voter, a violation of Texas law and obviously a state question, and since this

issue was to govern the outcome of the contest, we must point out here that Federal Courts do

not intervene in state election contests for the purpose of deciding state law, if no federal

constitutional question is involved”). The Fifth Circuit has reiterated that even in circumstances

where federal courts intervene in disputes concerning election laws, they should be “ever

mindful of our commitment to comity.” Noble, 996 F.2d at 800. Such principles militate against

granting injunctive relief here.

         The gravamen of Plaintiffs’ petition concerns the proper statutory interpretation of the

Texas Election Code. Even the constitutional arguments raised by the Plaintiffs assert that

Defendant Hollins departed from the Texas Legislature’s statutory scheme. Compl. ¶ 29-32. The

Texas Election Code provides a mechanism for filing an original proceeding in “The Supreme

Court or a court of appeals” to raise issues concerning the violation of “any duty imposed by law

in connection with the holding of an election . . . .” TEX. ELEC. CODE § 273.061. The Plaintiffs

availed themselves of this procedure twice, both times raising the same statutory-interpretation

arguments before the Texas Supreme Court. And on both occasions, the Texas Supreme Court

refused to grant the requested relief, and by implication, concluded that the “drive-thru” scheme

did not violate the Texas Election Code.

         “The principle that state courts are the final arbiters of state law is well-settled.” Levy

Gardens Partners 2007, L.P. v. Commonwealth Land Title Ins. Co., 706 F.3d 622, 629 (5th Cir.

2013) (citing Bell v. State of Md., 378 U.S. 226, 237 (1964)). The Texas Supreme Court is the

final arbiter of Texas election law, and its decisions concerning the proper statutory

interpretation of Texas law are entitled to deference by this Court on the basis of judicial comity

and federalism. In accordance with those well-worn prudential principles, this Court should




                                                 10
1022180.3.docx
    Case 4:20-cv-03709 Document 29-1 Filed on 11/02/20 in TXSD Page 12 of 12




decline to grant Plaintiffs the relief they already sought and were denied by the Texas Supreme

Court.

III.     CONCLUSION

         The Court should deny Plaintiffs’ desperate third attempt to inject chaos into the election

by disenfranchising those voters who voted in drive-thru polling locations. For the reasons set

forth above and in the MJ Intervenors’ Voters’ Response, Drive-Thru Voters respectfully request

that the Court deny Plaintiffs’ Motion for a Preliminary Injunction.

         Dated: November 2, 2020.                 Respectfully submitted,

                                                  SMYSER KAPLAN & VESELKA, L.L.P.

                                                  /s/ Larry R. Veselka
                                                  Larry R. Veselka (Fed. Bar No. 6797)
                                                  State Bar No. 20555400
                                                  David Isaak (Fed. Bar No. 26694)
                                                  State Bar No. 24012887
                                                  717 Texas Avenue, Suite 2800
                                                  Houston, Texas 77002
                                                  (713) 221-2300 (phone)
                                                  (713) 221-2320 (fax)
                                                  lveselka@skv.com
                                                  disaak@skv.com

                                                  ATTORNEYS FOR THE DRIVE-THRU
                                                  VOTERS



                                 CERTIFICATE OF SERVICE

        I certify that on November 2, 2020, I caused a copy of the foregoing document to be
served on all counsel of record by the Electronic Case Filing System for the United States
District Court for the Southern District of Texas.

                                             /s/ Larry R. Veselka
                                             Larry R. Veselka




                                                 11
1022180.3.docx
